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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                     LOUISVILLE DIVISION
                                    ELECTRONICALLY FILED

 LUANN SUMMERS,                                   )
                                                  )
                  Plaintiff,                      )
                                                  )
 v.                                               )           Case No. 3:21-CV-543-RGJ
                                                  )
 RELIANCE STANDARD LIFE                           )
 INSURANCE COMPANY,                               )
                                                  )
                  Defendant.                      )


                                    AGREED ORDER OF DISMISSAL

                                ** ** ** ** ** ** ** **
       Plaintiff Luann Summers and Defendant Reliance Standard Life Insurance Company

(collectively “the Parties”), having settled all claims asserted herein, having agreed to the entry of

this Order, and the Court being sufficiently advised;

       IT IS HEREBY ORDERED that the above-referenced action be and hereby is dismissed

with prejudice, and stricken from the Court’s docket, with each party to bear its own attorney’s

fees and costs.                January 27, 2022


HAVE SEEN AND AGREED TO:

 /s/ Elizabeth A. Thornsbury                       /s/ Edward M. O’Brien (with permission)
 ELIZABETH A. THORNSBURY                           Edward M. O’Brien
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 Lexington, Kentucky 40507                         Louisville, KY 40207
 Counsel for Plaintiff                             Counsel for Defendant
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                                 CERTIFICATE OF SERVICE

    I hereby certify that on January 26, 2022, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system, which will send a notice of electronic filing to the
following registered participants:

   x   M. Austin Mehr
       amehr@austinmehr.com,amlopsc@yahoo.com,pgf@austinmehr.com,
       shall@austinmehr.com
   x   Edward M. O'Brien
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   x   Elizabeth A. Thornsbury
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       assistant@austinmehr.com

Manual Notice List

   x   No manual recipients



                                                             /s/ Elizabeth A. Thornsbury
                                                             ELIZABETH A. THORNSBURY




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